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September 27, 2021



Greetings,

This is a note to provide a character reference for Thomas Sibick. Our
family has been his next door neighbor from 2001 until he moved out of the
family home several years ago. Since then, he has been back frequently
to have dinner with his family or to visit. Over the years, our relationship
has grown into being a very close friendship with the family. We have
enjoyed many celebrations of birthdays, graduations, holidays, and just,
impromptu get-togethers in which Thomas was always present.

Thomas has always been very pleasant, respectful, and offering to help
when the opportunity arose. I would go to his home to visit and many times
he would let us know about his work at one of the local nursing homes and
the stories that developed.

He was also in the process of going for his Master’s degree to help further
advance his career.

Thomas has strong family bonds that reach beyond his immediate family.
His mother Carol and he have a very special, close relationship.

We understand that he is not perfect, but nobody is. We have 2 of our own
children around the same age. However, what we do know is that if we
needed anything, we were confident that we could have reached out to
him, and he would have helped without hesitation.

We hope this gives a small glimpse of our experiences with Thomas, but if
you have any additional questions, feel free to reach out to either of us.

Best regards,

Steve and Ann Sweet
(Address, Phone Number and Email Address deleted by defense
counsel)
